ease 2:13-cr-00495-H§1WM¢%1TES DI§JB#QB/@QLH§E@ 1 of 1 PagelD: 35
DISTRICT OF NEW JERSEY

MAGISTRATE’S COURTR()OM MINUTES

UNITED STATES OF AMERICA
V.

Giuseppe Giudice

PROCEEDINGS: Initial Hearin£

 

( MPLAINT
( ADVISED OF RIGHTS

) WAIVER OF COUNSEL
) APPT. OF COUNSEL: _ AFPD ___ CJA
) WAIVER OF HRG.: _ PRELIM __ REMOVAL

) cONsENT T0 MAGISTRATE’S IURISDICTIQN
)PLEA ENTERED; _ GUILTY _ NOT GUILTY
) PLEA AGREEMENT

) RULE 11 FORM

) FINANCIAL AFFIDAVIT EXECUTED

) OTHER

/'\/'\r`/`\A/`/`/`/`

 

HEARING(S) SET FOR:

( )PRELIMINARY/REMOVAL HRG.

( )DETENTION/BAIL HRG.

( )TRIAL; _ c0URT _ JURY

( )SENTENCING

( ) p?/'/H$mrvo-/-L !/'.‘[l.g ZZJo|'/‘”

APPEARANCES:
AUSA J. Romankow
DEFT. COUNSEL Miles Feinstein

PROBATION

 

INTERPRETER
Language: ( )

 

Time Commenced: lO'-ZL AW\.

Time Terminated: 0 '» 30 kv\
CD No:

MAGISTRATE JUDGE:

Criminal NO.:

DATE OF PROCEEDINGS:

Cathv L Waldor. U.S.M.J.

13-495 - l

7/30/13

DATE OF ARREST:

A/`r`r`f\/`

) TEMPORARY cOMMITMENT
) CONSENT TO DETENTION WITH RIGHT To MAKE A
BAIL APPLICATION AT A LATER TIME
) BAIL DENIED - DEFENDANT REMANDED T0 cUSTODY
)BAIL sET:
( ) UNSECURED BOND
( ) sURETY BOND sEcURED BY cAsH / PROPERTY
) TRAVEL RESTRICTED
) REPORT To PRETRIAL SERVICES
) DRUG TEsTlNG AND/OR TREATMENT
) MENTAL HEALTH TESTING AND/OR TREATMENT
) sURRENDER &/0R OBTAIN NO PASSPORT
) SEE ORDER sETTING COND!TIONS 0F RELEASE FOR
ADDITIONAL coNDITIONs

 

 

DATE:
DATE:
DATE:
DATE:
DATE:

 

 

 

 

 

7/-)/¢0¢%”¢ fema/t

DEPUTY CLERK

 

